      Case 18-50800-wlh        Doc 34 Filed 12/14/18 Entered 12/14/18 17:06:36                     Desc Order
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                              UNITED STATES BANKRUPTCY COURT

                                       Northern District of Georgia

                                             Atlanta Division

In     Debtor(s)
Re:    Nehemiah Alonzo Head Sr.                  Case No.: 18−50800−wlh
       45 Trelawney Avenue                       Chapter: 13
       Covington, GA 30016                       Judge: Wendy L. Hagenau

       xxx−xx−6029




             ORDER APPROVING MODIFICATION OF PLAN

       A modification to the confirmed Chapter 13 plan in this case having been proposed and no objection
to that modification having been made, it is

      ORDERED that the modification is APPROVED.

      The Clerk is directed to serve a copy of this Order upon Debtor, counsel for Debtor, and any trustee.




Dated: December 14, 2018




                                                 Wendy L. Hagenau
                                                 United States Bankruptcy Judge




Form 133a
